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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                                     ______
                                           )
 JOHN COSSABOON,                           )
                                           )  Case No. 1:25-cv-2110
       Plaintiff,                          )
                                           )
 v.                                        )
                                           )
 CITY OF VINELAND; VINELAND POLICE )
 DEPARTMENT; VINELAND MEDICAL              )
 CENTER; CUMBERLAND COUNTY JAIL;           )
 APRIL MUNSON, INDIVIDUALLY, AND IN )
 HER CAPACITY AS AN OFFICIAL OF THE )
 CUMBERLAND COUNTY JAIL; ERIC P.           )
 BLAZAR; JOSIAH MATRO; OFFICER             )
 FRANCISCO LEDESMA, INDIVIDUALLY           )
 AND IN HIS CAPACITY AS A POLICE           )
 OFFICER OF THE VINELAND POLICE             )
 DEPARTMENT; AND OFFICER(S) JOHN           )
 DOE(S), INDIVIDUALLY, AND IN THEIR        )
 CAPACITY AS POLICE OFFICER(S) OF           )
 THE VINELAND POLICE DEPARTMENT,           )
                                           )
       Defendants.                         )
 __________________________________________)

   I.   INTRODUCTION

        In 1976, the Supreme Court held that “deliberate indifference to a prisoner’s serious

 illness or injury states a cause of action under § 1983.” Estelle v. Gamble, 429 U.S. 97, 105

 (1976). Pretrial detainees’ Fourteenth Amendment claims of inadequate medical care are
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 analyzed under the same standard as similar claims brought by convicted and sentenced

 prisoners. Natale v. Camden Cty. Corr. Facility, 318 F.3d 575, 582 (3d Cir. 2003). “In order to

 state a cognizable claim, a prisoner must allege acts or omissions sufficiently harmful to

 evidence deliberate indifference to serious medical needs.” Estelle, 429 U.S. at 105. The Third

 Circuit has found deliberate indifference where a prison official:

        (1) knows of a prisoner’s need for medical treatment but intentionally refuses to
        provide it; (2) delays necessary medical treatment based on a non-medical reason;
        or (3) prevents a prisoner from receiving needed or recommended medical
        treatment. … We also have found ‘deliberate indifference’ to exist where the prison
        official persists in a particular course of treatment ‘in the face of resultant pain and
        risk of permanent injury.’

 Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir. 1999) (internal citations omitted). The Due Process

 Clause of the Fifth Amendment guarantees that individuals in the custody of the United States

 will not be subject to criminal punishment without due process of law.

        NOW COMES the Plaintiff John Cossaboon, through undersigned counsel, and alleges

 and avers the following:

  II.   JURISDICTION AND VENUE

 1.     Plaintiff John Cossaboon brings this action pursuant to 42 U.S.C. § 1983 and the

 Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”), to exercise his

 constitutional right against conditions of confinement that violate his Fourteenth and Fifth

 Amendment rights under the Constitution, his rights under the ADA, and New Jersey state law.

 2.     This Court has jurisdiction in this matter pursuant to 28 U.S.C. § 1331, § 1343(a)(3), §

 1343(a)(4), and § 1367(a) regarding the principles of pendent and supplemental jurisdiction over

 related state law claims.

 3.     Venue in the District is properly laid pursuant to 28 U.S.C. § 1391, insofar as the alleged

 unlawful conduct asserted in this Complaint, which forms the factual and legal basis of the


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 Plaintiffs claims, arose within the geographical limits of this District in general and within the

 geographical limits of Cumberland County, New Jersey, in particular.

 III.   PARTIES

 4.     Plaintiff John Cossaboon (hereinafter “Mr. Cossaboon” or “Plaintiff”) is an adult

 individual with a home address of 357 Fairton Millville Road, Bridgeton, NJ 08302. At all times

 relevant hereto, Plaintiff was medically disabled by virtue of his serious, chronic health

 conditions.

 5.     Defendant City of Vineland, upon information and belief, is a municipal corporation

 organized and existing under the laws of the State of New Jersey, with a principal place of

 business at 640 East Wood Street, Vineland, NJ 08360, which, at all times relevant and material

 to this action, acted through its agents, servants, employees and representatives, acting in the

 course and scope of their employment pursuant to official policies, practices and customs of the

 defendant, City of Vineland.

 6.     Defendant Vineland Police Department, upon information and belief, is a local agency

 with a business address of 620 East Plum Street, Vineland NJ 08360, which, at all times relevant

 and material to this action, acted through its agents, servants, employees and representatives

 acting in the course and scope of their employment pursuant to official policies, practices and

 customs of the City of Vineland and the Vineland Police Department.

 7.     Defendant Vineland Medical Center, upon information and belief, is a corporation with a

 business address of 1505 West Sherman Avenue, Vineland, NJ 08360, which, at all times

 relevant and material to this action, acted through its agents, servants, employees and

 representatives acting in the course and scope of their employment pursuant to official policies,

 practices and customs of the Vineland Medical Center.




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 8.       Defendant Cumberland County Jail, upon information and belief, is a local agency with a

 business address of 554 West Broad St, Bridgeton, NJ 08302, which, at all times relevant and

 material to this action, acted through its agents, servants, employees and representatives acting in

 the course and scope of their employment pursuant to official policies, practices and customs of

 the jail.

 9.       Defendant Nurse April Munson, upon information and belief, is an adult individual with

 a business address of 554 W Broad St, Bridgeton, NJ 08302, and is being sued in her individual

 capacity and in her official capacity as an official of the Cumberland County Jail.

 10.      Defendant Eric P. Blazar, M.D., upon information and belief, is an adult individual with a

 business address of 1505 W Sherman Ave, Vineland, NJ 08360, and is being sued in his

 individual capacity and in his official capacity as an employee of Vineland Medical Center.

 11.         Defendant Josiah Matro, RN, upon information and belief, is an adult individual with a

 business address of 1505 W Sherman Ave, Vineland, NJ 08360, and is being sued in his

 individual capacity and in his official capacity as an employee of Vineland Medical Center.

 12.         Defendant Officer Francisco Ledesma, upon information and belief, is an adult individual

 with a business address of 620 East Plum Street, Vineland NJ 08360, and is being sued in his

 individual capacity and in his official capacity as an officer of the Vineland Police Department.

 13.         Defendant(s) John Doe(s) were employees or agents of Defendant the City of Vineland

 who participated in, supervised, and/or had knowledge of and failed to intervene in the denial of

 prompt medical care required by Plaintiff from March 28, 2023, to April 24, 2023. They were

 assigned to, had supervisory responsibility for, or were present at or responded to the unit where

 Plaintiff was confined. At all relevant times, they were under color of state law and within the

 scope of their capacities as agents, servants, and employees of Defendant the City of Vineland.




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 IV.       ALLEGATIONS OF FACT

 14.       On September 21, 2021, Mr. Cossaboon was in a motor vehicle accident that caused

 severe injuries to his lower extremities. He received medical treatment for these injuries

 throughout 2022 and early 2023.

 15.       On March 24, 2023, Mr. Cossaboon underwent a surgery to lengthen his left Achilles

 tendon.

 16.       After his March 24, 2023, surgery, Mr. Cossaboon received detailed aftercare instructions

 from his medical provider, which he intended to dutifully follow so as to recover from the

 surgery with the best possible outcome.

 17.       The detailed aftercare instructions included, but were not limited to, a requirement that

 Mr. Cossaboon wear a cast after the surgery, avoid bearing weight on his left ankle entirely,

 engage in physical therapy exercises, and return to the doctor in 14 days so that his surgical

 stitches might be removed.

 18.       Four days after the surgery, Mr. Cossaboon was arrested by Defendant Officers Francisco

 Ledesma and John Doe(s) for allegedly violating a protection from abuse order.

 19.       Upon his arrest, Defendant Police Officers Ledesma and Doe(s) informed Mr. Cossaboon

 they would need to remove his surgical cast in order to search for potential contraband.

 20.       Defendant Police Officers Ledesma and Doe(s) transported Mr. Cossaboon to Defendant

 Vineland Medical Center, whereupon they instructed Defendant Eric P. Blazar, M.D., and

 Defendant Josiah Matro, RN, to remove Mr. Cossaboon’s cast.

 21.       Defendant Police Officers did not have a warrant, nor did they possess any official

 government order to remove Mr. Cossaboon’s medically necessary device in order to search his

 person for contraband.




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 22.    Despite this, Defendants Blazar and Defendant Vineland Medical Center complied with

 the Defendant police officers’ request and removed Mr. Cossaboon’s medically necessary cast

 on his left ankle. No contraband was found under Mr. Cossaboon’s cast.

 23.    Defendants Blazar and Matro at Defendant Vineland Medical Center did not then

 properly reset Mr. Cossaboon’s cast according to his surgeon’s aftercare instructions; instead,

 they wrapped his ankle with an elastic bandage wrap which, unlike the cast, did not stabilize Mr.

 Cossaboon’s ankle according to the post-surgery advice of his doctors.

 24.    At approximately 12:00 P.M. on March 28, 2023, at the behest of Defendant Officer

 Ledesma, Defendant Blazar signed a form entitled “MEDICAL EVALUATION REQUEST BY

 PEACE OFFICER,” certifying with his signature that: “At the request of the peace officer named

 above, I have evaluated…John Cossaboon and I am providing the peace officer named above

 with a copy of this statement. Based on a medical examination specifically related to the reason

 for the arrestee’s presentation to the emergency department, I have determined that it is

 medically safe to detain and incarcerate the arrestee.” This form did not condition Mr.

 Cossaboon’s detention on continuing medical treatment.

 25.    The abovementioned form was not signed knowingly or accurately by Defendant Blazar,

 who was not familiar with Mr. Cossaboon’s care and rendered inappropriate medical treatment

 not consistent with prior treatment and who did not follow the directions of the prior treating

 physician.

 26.    Defendant Blazar noted on the abovementioned form that Mr. Cossaboon should receive

 500 mg of Keflex, an antibiotic medication, three times a day.

 27.    Although the abovementioned form included a space where a physician could certify that

 they sent off a medication order to the pharmacy, Defendant Blazar did not so certify that Mr.




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 Cossaboon’s Keflex prescription was sent in. A failure to transmit medical records constitutes

 denial of medical care to Mr. Cossaboon.

 28.    Mr. Cossaboon was given patient education materials and follow-up instructions that

 stated: “Please follow-up with your primary care provider in 2-3 days. Return to the ER with any

 worsening or new symptoms. Take all medications as previously prescribed.”

 29.    Defendant Officers Ledesma and Doe(s) took Mr. Cossaboon to the Cumberland County

 Superior Court Jail, where he was held for 30 days.

 30.    Over the course of the next 30 days, Defendant Cumberland County Jail and Defendant

 Nurse April Munson did not allow Mr. Cossaboon to follow up with his primary care provider.

 Nor did they allow him to return to the emergency room even as his symptoms worsened, nor

 allow him access to the medications he was prescribed.

 31.    At the jail, Mr. Cossaboon was not given a wheelchair or another proper mobility device

 that would allow him to avoid bearing weight on his left ankle and thus was forced to walk on

 his unhealed foot a mere four days after he had undergone surgery on it.

 32.    Mr. Cossaboon was not allowed to shower or otherwise bathe himself for the first 20 days

 of his sentence, and he was never given a change of clothes.

 33.    Mr. Cossaboon was not allowed to see a social worker for at least the first 14 days of his

 imprisonment.

 34.    Mr. Cossaboon was not allowed to see a doctor, let alone his surgeon, until he was

 released from the Defendant Cumberland County Jail.

 35.    Mr. Cossaboon’s stitches were removed only after he was released from the Defendant

 Cumberland County Jail, more than 30 days after his surgery, whereas his surgeon’s instructions

 specified they were to be removed after 14 days.




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 36.    Mr. Cossaboon repeatedly requested a medical evaluation at a hospital outside of the

 Defendant Cumberland County Jail, and his requests were repeatedly denied or ignored.

 37.    A Medical Department Request Form from April 19, 2023, filed by Mr. Cossaboon while

 incarcerated in the Cumberland County Jail, states as follows in the space designated for

 “Reason for the request:” “Mrs. April Munson, I am not allowed any antibiotics. Zero. Per

 infections disease of Cooper Hospital, Camden, NJ. Please prescribe the medications the doctors

 have prescribed. My surgery was successful, now a failure due to foot not recasted [sic] on

 3/27/23 when cut off, also my stitches grew in. Were to removed [sic] on 4/3/23.”

 38.    Another Medical Department Request Form, filed by Mr. Cossaboon while incarcerated

 in the Cumberland County Jail states as follows in the space designated for “Reason for the

 request”: “To see psych DR + too [sic] have stitches removed + have foot casted [sic]. Stitches

 were to be removed on April 3, 2023. Today is April 22, 2023. Also cast was removed on March

 27, 2023 [sic] and never put back on.”

 39.    A third Medical Department Request Form filed by Mr. Cossaboon on April 22, 2023, f

 states as follows in the space designated for “Reason for the request”: “Would like to see psych

 doctor. Also need to have stitches removed. Supposed to be removed on 4/3/23, 19 days ago.

 Also to have foot recasted. Cast was cut off on 3/27/23 [sic] and never put back on, causing the

 successful surgery to become a failure. Mrs April [Munson] refuses to give me my pain pills,

 wrongfully gives antibiotics… please help.”

 40.    By the time Mr. Cossaboon was released from Cumberland County Jail on April 24,

 2023, having had his medically necessary surgical cast removed and not replaced, having missed

 several follow-up appointments with his surgeon, having been forced to bear weight on an

 extremity that had undergone surgery less than a week prior, having had surgical stitches remain




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 inside his body for more than two weeks longer than recommended by his surgeon, and having

 been denied the right to bathe himself and thus unable to keep his surgical wound clean and

 dressed, Mr. Cossaboon’s surgical wound expanded greatly in size and became seriously

 infected.

 41.      A report from a surgery follow-up appointment on May 9, 2023, written by Kenneth

 Graf, MD, states: “Unfortunately, [Mr. Cossaboon] was doing great until he went to jail and lost

 his boot. He was arrested 4 days after his surgery and was in jail for 30 days, during which time

 he did not have any rehab for his foot. His walking boot was confiscated. His forearm crutches

 are also damaged. The police had the cast cut off and wrapped it with a bandage. The stitches

 were left in. The patient was told that this had caused some cellulitis. He is able to do whatever

 he wants to do, but it hurts and burns. The patient is unable to put any weight on the foot due to

 pain.”

 42.      A report from an office visit at the Cooper Multi-Specialty Center at Camden Campus on

 December 1, 2023, notes that Mr. Cossaboon “was incarcerated where cast/splint was removed

 and wound was open to air.”

 43.      Mr. Cossaboon’s medical history reflects that his left heel remains chronically infected

 since acquiring an initial infection in the Defendant Cumberland County Jail.

 44.      A report from an August 13, 2024, appointment for orthopedic care and a wound check

 on the left foot, signed by Kenneth Graf, MD, states that “the [March 24, 2023] operation was

 successful, but [Mr. Cossaboon] ended up being incarcerated and lost all of the rehab on it.”

 45.      Mr. Cossaboon now requires revision surgery on his left foot.

 46.      An investigation conducted by the U.S. Department of Justice’s Civil Rights Division and

 the U.S. Attorney’s Office for the District of New Jersey concluded that there was reasonable




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  cause to believe that the conditions at the Cumberland County Jail violate the Eighth and

  Fourteenth Amendments of the Constitution because of a pattern of institutional failures relating

  to the jail’s healthcare system.

  47.       Defendant Nurse April Munson has been previously alleged to have violated inmates’

  Fourteenth Amendment rights to adequate medical care by failing to properly evaluate inmate

  injuries and continuing medical treatment she knew to be ineffective. Rodriguez v. Tirado, et al.,

  Civ. 22-1376 (RMB-MJS) (D.N.J. Apr. 28, 2022).

  48.       Defendant Eric Blazar, M.D., is currently involved in ongoing medical malpractice

  litigation alleging that he was careless, reckless, did not have or use the appropriate care or skill

  and deviated from accepted medical and other professional standards in his care and treatment of

  patients. See Sabella v. Blazar, et al., Superior Court of NJ, Civ. SLM-L-000036-24.

  49.       The acts of the defendants, as described above, were performed with malice and

  premeditation, under color of state law, with a willful and wanton disregard for the Mr.

  Cossaboon’s rights under the Fifth and Fourteenth Amendments to the United States

  Constitution, and in contravention of the letter and spirit of 42 U.S.C. §§ 1983, 1985, and 12101

  et seq.

  50.       From March 28, 2023, through April 24, 2023, and at all times relevant and material to

  this action, Defendants City of Vineland, City of Vineland Police Department, and Cumberland

  County Jail had a policy, custom and practice of not taking reasonable steps to properly train

  their employees and police officers, and had a policy, custom and practice of failing to properly

  train their police officers.

  51.       From March 28, 2023, through April 24, 2023, and at all times relevant and material to

  this action, Defendants City of Vineland and City of Vineland Police Department failed to




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  properly train its police officers, including, but not limited to, Defendants Francisco Ledesma

  and John Doe(s), which conduct constitutes of municipal policy or custom of the City of

  Vineland and the City of Vineland Police Department, that amounts to deliberate indifference to

  the rights of people with whom its police come into contact, including Mr. Cossaboon, which

  policy or custom directly caused Mr. Cossaboon to suffer constitutional deprivations.

  52.    From March 28, 2023 through April 24, 2023, and at all times relevant and material to

  this action, Defendant Cumberland County Jail failed to properly train its officers, including, but

  not limited to, Defendant April Munson, which conduct constitutes municipal policy or custom

  of the Cumberland County Jail, that amounts to deliberate indifference to the rights of people

  with whom its officers come into contact, including plaintiff, which policy or custom directly

  caused Mr. Cossaboon to suffer constitutional deprivations. Defendant April Munson denied

  medical care to an individual in her custody.

  53.    As a direct and proximate result of the acts, and omissions committed by the named

  Defendants herein, as detailed above, and as further articulated in the paragraphs which follow,

  Mr. Cossaboon was caused to suffer, inter alia, the following harms, injuries and damages, some

  or all of which may be permanent and/or continuing in nature:

             a. Loss of liberty;

             b. Severe and chronic pain and injury;

             c. Emotional distress and anguish;

             d. Loss of life’s pleasures; and

             e. Loss of employment, income, and shortening of economic horizons.

  54.    At all times relevant, the legal principles regarding the rights of persons, such as Mr.

  Cossaboon, and the contours of those Constitutional and statutory rights, were well established,




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  and it was not reasonable for any Defendant to believe that his or her actions would not deprive

  the Mr. Cossaboon of those rights.

  55.    At all times during the events described herein, Defendants were engaged in one or more

  joint ventures which combined to produce the Constitutional violations and other harms asserted

  herein. The Defendants assisted each other in performing the various actions described, and lent

  their physical presence, support, and/or authority to one another.

  56.    Mr. Cossaboon further believes and therefore avers, that without the intervention of this

  Honorable Court, he, as well as others, may suffer from state and federal rights violations

  similarly and that, consequently, injunctive relief is demanded, and required.

  57.    Defendant Police Officers and Cumberland County Jail Officials – Defendants Ledesma,

  Munson, and Doe(s) -- individually and collectively, at all times pertinent to the claims asserted

  herein, acted under color of law.

  58.    While acting under color of law, the Defendants deprived Mr. Cossaboon of various state

  and federal Constitutional rights, as more fully set forth herein.

  59.    All Defendants acting for the City – Francisco Ledesma, April Munson, and John Doe(s)

  – are sued in their individual capacities pursuant to 42 U.S.C. § 1983 for their actions, all of

  which occurred under color of law and, accordingly, neither Eleventh Amendment immunity nor

  sovereign immunity applies.

  60.    Relative to the pendant state claims asserted, Defendants Francisco Ledesma, April

  Munson, and John Doe(s) acts and omissions are alleged to have been committed outside the

  scope of their employment, and therefore are not subject to sovereign immunity. The injunctive

  relief sought against these Defendants is sought in their official capacities, for which they are

  likewise not immunized.




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                                    FIRST CLAIM FOR RELIEF
                                   42 U.S.C. § 1983
                    FOURTH, FIFTH AND FOURTEENTH AMENDMENTS

   DUE PROCESS AND CRUEL AND UNUSUAL PUNISHMENT AGAINST PRETRIAL
                              DETAINEES
                         (Against All Defendants)

  61.    Plaintiff repeats and realleges the foregoing paragraphs of this complaint as if fully set

  forth herein.

  62.    By reason of the foregoing, and by denying Plaintiff access to adequate medical care,

  failing to properly summon medical treatment, failing to provide medical treatment, and

  interfering with the Plaintiff’s proper course of treatment by removing his surgical cast and

  incarcerating him without reapplying another surgical cast, and/or exhibiting deliberate

  indifference to Plaintiff’s rights by not acting on information which indicated that

  unconstitutional acts were occurring, the Defendants deprived Plaintiff of rights, privileges and

  immunities guaranteed to every citizen of the United States, in violation of 42 U.S.C. § 1983,

  including, but not limited to, rights guaranteed by the Fourth, Fifth and Fourteenth Amendment

  to the United States Constitution.

  63.    The Defendants acted at all relevant times hereto willfully, wantonly, maliciously, and/or

  with such reckless disregard of consequences as to reveal a conscious indifference to the clear

  risk of serious injury to Plaintiff. As a direct and proximate result of these violations of

  Plaintiff’s constitutional rights, he suffered the damages hereinbefore alleged.

  64.    The Officer Defendants, Defendant Munson, and Defendant(s) Doe(s) acted under

  pretense and color of state law and in their individual and official capacities within the scope of

  their respective employments as police officers, Department of Corrections officers, agents,

  employees, and/or contracted personnel. Said acts by Defendants were beyond the scope of their



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  jurisdiction, without authority of law, and in abuse of their powers. Said Defendants acted

  willfully, knowingly, and with the specific intent to deprive Plaintiff of his constitutional rights

  secured by 42 U.S.C. § 1983 and by the Fifth and Fourteenth Amendments to the United States

  Constitution.

  65.    Defendants City of Vineland, City of Vineland Police Department and Cumberland

  County Jail, through their officers and employees, acting under the pretense and color of law,

  permitted, tolerated, and were deliberately indifferent to a pattern and practice of medical neglect

  towards incarcerated people with serious medical needs, and to a pattern and practice of medical

  neglect, deliberate indifference, and negligence by officers and medical personnel towards the

  serious medical needs of incarcerated people at the time of Plaintiff’s incarceration. Defendants

  denied people in their custody with significant health needs appropriate and timely medical care,

  monitoring, and assessment.

  66.    Defendants City of Vineland, City of Vineland Police Department and Cumberland

  County Jail, and their officers and employees, acting under the pretense and color of law,

  permitted, tolerated, and were deliberately indifferent to a pattern and practice of negligent

  response to medical emergencies by incarcerated people in their custody.

  67.    This widespread tolerance of abuse and neglect constituted municipal and corporate

  policy, practice, and custom, and was a proximate cause of Plaintiff’s mistreatment and injury.

  68.    By pursuing, permitting, tolerating, and sanctioning persistent and widespread policies,

  practices, and customs pursuant to which Plaintiff was denied medical care and had his medical

  care interfered with, Defendants deprived Plaintiff of rights, remedies, privileges, and

  immunities guaranteed to every citizen of the United States, secured by 42 U.S.C. § 1983 and the

  Fourth, Fifth and Fourteenth Amendments to the United States Constitution.




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  69.    By removing Plaintiff’s cast without a warrant in absence of exigent circumstances, all

  Defendants acting for the City of Vineland violated Plaintiff’s Fourth Amendment rights.

  70.    As a direct and proximate result of the misconduct and abuses of authority detailed

  above, Plaintiff sustained the damages hereinbefore alleged.

         WHEREFORE, Plaintiff, John Cossaboon, demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                  SECOND CLAIM FOR RELIEF
              Title II of the Americans with Disabilities Act, 42 U.S.C 12101, et seq.

   (Against City of Vineland, City of Vineland Police Department, Cumberland County Jail,
                     Officer Ledesma, Officer Doe(s), and April Munson)

  71.    Plaintiff repeats and realleges the foregoing paragraphs of this complaint as if fully set

  forth herein.

  72.    Title II of the ADA states, in pertinent part: “[N]o qualified individual with a disability

  shall, by reason of such disability, be excluded from participation in or be denied the benefits of

  the services, programs, or activities of a public entity.” 42 U.S.C. § 12132.” Public entities

  include state and local governments, their agencies, and their instrumentalities. 42 U.S.C. §

  12131(1).

  73.    Disability discrimination under Title II includes the refusal to make reasonable

  modifications to policies, practices, and procedures where necessary to ensure that persons with

  disabilities do not experience discrimination. 28 C.F.R. § 35.130(b)(7).

  74.    At all relevant times, Defendants City of Vineland and the Cumberland County Jail were

  a “public entity” within the meaning of Title II of the ADA.




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  75.    At all relevant times, Plaintiff was a qualified individual with a disability within the

  meaning of Title II of the ADA. See 42 U.S.C. § 12102. He had serious, chronic health

  conditions that substantially limited his major life activities, including a recent major surgery that

  necessitated the temporary use of a wheelchair, and he was incarcerated in Cumberland County

  Jail and thus qualified to participate in the programs, services, and facilities of DOC activities,

  including but not limited to, access to appropriate medical housing, appropriate medical care, and

  necessary, life-saving medical treatment.

  76.    Defendant City of Vineland denied Plaintiff reasonable modifications necessary to avoid

  discrimination against him due to his disability by failing to provide him with the essential

  medical services necessary to prevent his health from precipitous decline, culminating with his

  chronic infection.

  77.    Defendants discriminated against Plaintiff because of his disability. They denied him

  requisite medical services, including but not limited to denying him medical housing, denying

  him access to his follow-up surgery appointments, denying him access to appropriate medical

  care, and denying him prompt response to medical emergencies, as detailed in the preceding

  paragraphs.

  78.    Defendants were deliberately indifferent to Plaintiff’s rights secured by the ADA.

  79.    Defendants’ failure to provide Plaintiff with reasonable accommodations caused him

  unnecessary pain and suffering, increased the severity of his medical conditions, and caused his

  successful surgery to become a failure.

  80.    The harm suffered by Plaintiff due to this violation is irreparable.

  81.    As a result of the above-described actions by Defendants, Plaintiff has suffered damages,

  both physical and emotional.




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         WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                   THIRD CLAIM FOR RELIEF
                                              Negligence
                                      (Against All Defendants)
  82.    Plaintiff repeats and realleges the foregoing paragraphs of this complaint as if fully set

  forth herein.

  83.    Defendants owed a duty of care to Plaintiff as a patient at Vineland Medical Center and

  an inmate at Cumberland County Jail.

  84.    Defendant Vineland Medical Center and Defendant Blazar breached the duty of care that

  it owed to Plaintiff by removing a medically necessary cast for no reason other than a frivolous

  police request and medically clearing him for incarceration despite his known medically

  vulnerable status and chronic medical conditions.

  85.    Defendants City of Vineland, City of Vineland Police Department, and Cumberland

  County Jail breached the duty of care that they owed to Plaintiff by failing to place him in

  medically appropriate housing despite his serious, chronic medical conditions, known medically

  vulnerable status, and worsening health, and failed to provide him with adequate or timely

  medical care, and failed to respond to his medical emergencies with timely assistance.

  86.    The Officer Defendants Ledesma and Doe(s) breached their duty of care to Plaintiff by

  interfering with the course of his medical treatment by transporting him to the hospital, removing

  his cast, and then transporting him to the jail where his health would decline precipitously.

  87.    Defendant Nurse April Munson breached the duty of care she owed to Plaintiff by

  denying him access to prompt and adequate medical care.



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  88.    All Defendants breached the duty of care that they owed to Plaintiff by denying him

  access to prompt and adequate medical care.

  89.    Defendants’ breach of their duty of care was a proximate cause of Plaintiff’s severe pain

  and suffering and emotional distress.

  90.    Defendant the City of Vineland, as employer of the Officer Defendants, is responsible for

  their negligence under the doctrine of respondeat superior.

  91.    As a direct and proximate result of the misconduct and abuse of authority detailed above,

  Plaintiff sustained the damages hereinbefore alleged.

         WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                 FOURTH CLAIM FOR RELIEF
  Article 1, Paragraph 1 of the New Jersey Constitution (Due Process) (brought directly under
                the New Jersey Constitution and pursuant to N.J.S.A. 10:6-2(c))

   (Against City of Vineland, City of Vineland Police Department, Cumberland County Jail,
                     Officer Ledesma, Officer Doe(s), and April Munson)

  92.    Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.

  93.    Article I, Paragraph 1, of the New Jersey Constitution provides: “All persons are by

  nature free and independent, and have certain natural and unalienable rights, among which are

  those of enjoying and defending life and liberty, of acquiring, possessing, and protecting

  property, and of pursuing and obtaining safety and happiness.”




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  94.    Within the rights protected by Article I, Paragraph 1 of the New Jersey Constitution is the

  right of pre-trial detainees to be free from conditions that would amount to cruel and unusual

  punishment.

  95.    The repeated withholding of adequate healthcare from Plaintiff violates Article I,

  Paragraph 1 of the New Jersey Constitution.

  96.    The harm suffered by Plaintiff due to this violation is irreparable.

  97.    As a result of the described actions by Defendants, Plaintiff has suffered damages,

  including physical injuries and emotional distress.

         WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                   FIFTH CLAIM FOR RELIEF
   Article 1, Paragraph 12 of the New Jersey Constitution (No cruel and unusual punishment)
   (brought directly under the New Jersey Constitution and pursuant to N.J.S.A. 10:6-2(c))

   (Against City of Vineland, City of Vineland Police Department, Cumberland County Jail,
                     Officer Ledesma, Officer Doe(s), and April Munson)

  98.    Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.

  99.    The actions of defendants described herein violate Article I, Paragraph 12 of the New

  Jersey Constitution, which provides that “cruel and unusual punishments shall not be inflicted

  ….”

  100.   The harm suffered by Plaintiff due to this violation is irreparable. As a result of the

  described actions by Defendant, Plaintiff has suffered damages, including physical injury and

  emotional distress.




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         WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                   SIXTH CLAIM FOR RELIEF
                        Law Against Discrimination (N.J.S.A 10:5-1 to 14.1)

   (Against City of Vineland, City of Vineland Police Department, Cumberland County Jail,
                     Officer Ledesma, Officer Doe(s), and April Munson)

  101.   Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.

  102.   Defendant Cumberland County Jail constitutes a place of public accommodation within

  the meaning of the New Jersey Law Against Discrimination, N.J.S.A 10:5-1 to 14.1.

  103.   Plaintiff is disabled within the meaning of the New Jersey Law Against Discrimination,

  N.J.S.A 10:5-1 to 14.1.

  104.   The actions of Defendants violate the New Jersey Law Against Discrimination, which

  provides:

         All persons shall have the opportunity to obtain employment, and to obtain all the
         accommodations, advantages, facilities, and privileges of any place of public
         accommodation, public housing accommodation, and other real property without
         discrimination because of race, creed, color, national origin, ancestry, age, marital
         status, affectional or sexual orientation, familial status, disability, nationality, sex,
         gender identity or expression or source of lawful income used for rental or mortgage
         payments, subject only to conditions and limitations applicable alike to all persons.
         This opportunity is recognized as and declared to be a civil right.

  105.   The harm suffered by Plaintiff due to this violation is irreparable.

  106.   As a result of the described actions by Defendants, Plaintiff has suffered damages,

  including physical injuries and emotional distress.




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         WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                      SEVENTH CLAIM FOR RELIEF

                                        MEDICAL MALPRACTICE

              (Against Defendants Blazar, Matro, Munson, and Vineland Medical Center)

  107.   Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.

  108.   On March 28, 2023, at Defendant Vineland Medical Center, Defendants Blazar and

  Matro followed the directions of police officers in the treatment of a patient, Plaintiff, and in so

  doing interrupted the existing treatment Plaintiff was undergoing at that time.

  109.   Defendants Blazar, Matro, and Vineland Medical Center rendered treatment inconsistent

  with Plaintiff’s prior treatment.

  110.   Defendants Blazar, Matro, and Vineland Medical Center removed Plaintiff’s surgical cast

  to fulfill the police officers’ request to search for contraband under said cast, instead of offering a

  less invasive treatment, like an X-Ray, which would have served the same purpose of searching

  under his cast without needing to remove it.

  111.   Defendants Blazar, Matro, and Vineland Medical Center still subjected Plaintiff to an X-

  Ray, rendering the decision to remove his surgical cast completely unnecessary.

  112.   Upon information and belief, Defendant Blazar is not an orthopedic surgeon, and

  Defendant Blazar deviated from the orthopedic care specifically prescribed to Plaintiff by his

  own surgeon.




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  113.    Upon information and belief, Defendants did not consult Plaintiff’s prior medical history

  before rendering treatment.

  114.    Defendants Blazar, Matro, Munson, and Vineland Medical Center rendered medically

  inappropriate treatment to Plaintiff that did not meet professional standards and resulted in

  permanent damage to the Plaintiff.

  115.    Defendants owed Plaintiff a medical duty of care and had a position of professional care

  over Plaintiff.

  116.    Defendants breached their professional duty of care by deviating from accepted standards

  of care in the medical industry.

  117.    Defendants’ breach of medical duty gave Plaintiff permanent physical injuries, emotional

  distress, large medical bills and a loss of life’s pleasures.

  118.    Had Defendants not interfered with Plaintiff’s ongoing course of treatment prescribed by

  his orthopedic surgeon, Plaintiff would not have suffered the abovementioned damages.

          WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                     EIGHTH CLAIM FOR RELIEF

                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                        (Against all Defendants)

  119.    Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.




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  120.   The aforesaid actions of Defendants were extreme and outrageous, and caused severe

  emotional distress to Plaintiff, with reckless disregard for the consequences and with reckless

  disregard for the rights, safety and well-being of Plaintiff.

  121.   The aforesaid actions of the defendants went beyond the threshold of decency and the

  realm of intolerable cruelty.

  122.   As a direct and proximate result of the aforesaid tortious actions of the defendants,

  Plaintiff has suffered indignities, humiliation, emotional distress and mental anguish.

  123.   The actions of the defendants, as set forth above, toward Plaintiff were intentional,

  willful, wanton and done with a reckless indifference to the rights of Plaintiff, and warrant the

  imposition of punitive damages.

         WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against the

  defendants, for compensatory damages, punitive damages, reasonable attorney fees and costs,

  interest; and such other and further relief as appears reasonable and just.

                                   NINTH CLAIM FOR RELIEF

                   NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                               (Against all Defendants)

  124.   Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.

  125.   Defendants owed Plaintiff a duty of care, breached that duty, and caused Plaintiff to

  suffer severe emotional distress, which was the direct and proximate result of Defendants’ breach

  of duty.

  126.   The actions of the Defendants constitute the tort of negligent infliction of emotional

  distress under the laws of the state of New Jersey.




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           WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against

  the defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

                                    TENTH CLAIM FOR RELIEF

                                       EQUAL PROTECTION
                                  (Against Cumberland County Jail )

  127.     Plaintiff repeats and realleges the foregoing paragraphs of this Complaint as if fully set

  forth herein.

  128.     The Equal Protection Clause of the Fourteenth Amendment to the United States

  Constitution states that no state shall deny to any person within its jurisdiction equal protection

  of the laws.

  129.     At all times relevant hereto, Plaintiff was a member of a protected class.

  130.     At all times relevant hereto, Plaintiff received treatment different from the treatment

  provided to other inmates.

  131.     Plaintiff was denied adequate medical treatment.

  132.     As a result, Plaintiff sustained great personal injury, deterioration of general, health,

  severe and intense pain and suffering, and emotional distress.

           WHEREFORE, Plaintiff John Cossaboon demands judgment in his favor and against the

  defendants, for compensatory damages, reasonable attorney fees and costs, interest; and such

  other and further relief as appears reasonable and just.

   V.      REQUESTED RELIEF

           WHEREFORE, Plaintiff John Cossaboon respectfully requests:

        A. Actual and compensatory damages sufficient to make him whole;

        B. Punitive damages against all Defendants to punish them and deter further wrongdoing;


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     C. Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and any other

         applicable law; and

     D. Such other and further relief as may appear just and appropriate.

  Plaintiff hereby demands a jury trial.

  Dated: March 27, 2025                              Respectfully submitted,

                                                     /s/ Karen L. Hoffmann
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